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                          IN THE UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                WEST PALM BEACH DIVISION

  MELANIE DAVIS, et al.,                         )
                                                 )
         Plaintiffs,                             )
                                                 )
  v.                                             )       Case No. 18-cv-81004-RLR
                                                 )
  POST UNIVERSITY, INC.,                         )
                                                 )
         Defendant.                              )

              DEFENDANT POST UNIVERSITY, INC.’S MOTION TO DISMISS

         Defendant Post University Inc. (the “University”), pursuant to Fed. R. Civ. P. 12(b)(6),

  moves for dismissal of Plaintiff’s Class Action Complaint (“Complaint”) against it. Through her

  Complaint, Plaintiff is seeking to recover statutory damages of up to $1,500 per telephone call

  she or any of the putative class members received from the University, even if these calls were

  made in direct response to current or prospective student inquiries regarding enrolling at the

  University, and even if these calls were not preceded by a do-not-call request. Plaintiff believes

  she can retroactively convert such solicited communications into Telephone Consumer

  Protection Act violations solely because the University allegedly did not maintain an internal

  written policy concerning its do-not-call practices and provide it to Plaintiff on demand. Such a

  sweeping theory of liability based on an alleged procedural violation should be rejected as a

  matter of law at the outset of this case for at least the following two reasons:

         First, Plaintiff and the putative class members she seeks to represent do not have

  standing to pursue claims for any telephone solicitations placed before making an express DNC

  request. No one could have suffered any concrete injury traceable to the alleged lack of a written

  DNC policy unless and until a DNC request was actually made, and the University failed to
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  honor it by placing a later telephone solicitation.

         Second, the TCPA only provides a private right of action to seek recovery for telephone

  solicitations to which a call recipient has objected under Subsection (c). The TCPA does not

  provide a private right of action to enforce the alleged failure to maintain a written DNC policy

  for telemarketing calls, let alone informational calls that are not subject to any DNC obligations.

         Post University, Inc. respectfully requests that the Court grant its Motion to Dismiss and

  dismiss Plaintiff’s Complaint.



  Dated: September 14, 2018                      Respectfully submitted,

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                                  CERTIFICATE OF SERVICE

         I hereby certify that on September 14, 2018, the foregoing was filed electronically with
  the Clerk of Court to be served by Notice of Electronic Filing from the Court’s electronic filing
  system upon the following:

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